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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

____________________________________
                                    )
UNITED STATES OF AMERICA and        )
THE COMMONWEALTH OF                 )
PENNSYLVANIA DEPARTMENT             )
OF ENVIRONMENTAL PROTECTION, )
                                    )
                                    )
            Plaintiffs,             )
                                    )
            v.                      )                Civil Action No. 4:21-00538 (MWB)
                                    )
CHESAPEAKE APPALACHIA, LLC,         )
                                    )
            Defendant.              )
____________________________________)

        PLAINTIFFS’ NOTICE OF LODGING PROPOSED CONSENT DECREE

        Plaintiffs the United States of America and the Commonwealth of Pennsylvania

Department of Environmental Protection with this notice lodge with the Court a proposed

consent decree that contains the terms of a proposed settlement of the Complaint filed by

Plaintiffs against Chesapeake Appalachia LLC. ECF No.1.

       The parties have reached a proposed settlement of all claims for injunctive relief and civil

penalties alleged in the Complaint. A copy of the proposed consent decree is attached to this

notice and lodged with the Court. The proposed consent decree should not be signed or entered

by the Court at this time. In accordance with the requirements of 28 C.F.R. § 50.7, the proposed

consent decree should not be entered by the Court until after the Department of Justice provides

an opportunity to persons who are not named as parties to the action to comment on the proposed

consent decree. Id. The Department of Justice will receive and consider any written comments

relating to the proposed consent decree. The Plaintiffs will then make an appropriate motion to
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the Court. Id.



                                    Respectfully submitted,



Dated: 3/24/2021                    FOR THE UNITED STATES OF AMERICA:



                                    /s/ Laura J. Brown
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                                    U.S. Department of Justice
                                    Environment and Natural Resources Division
                                    Environmental Defense Section
                                    Post Office Box 7611
                                    Washington, DC 20044
                                    Phone: (202) 514-3376
                                    Laura.j.s.brown@usdoj.gov



                                    FOR THE PENNSYLVANIA DEPARTMENT
                                    OF ENVIRONMENTAL PROTECTION:



Dated: 3/24/2021                    /s/ Margaret O. Murphy
                                    MARGARET O. MURPHY (PA Bar No. 64148)
                                    Assistant Counsel
                                    Department of Environmental Protection
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                                    Harrisburg, PA 17101
                                    (717) 783-7472
                                    mamurphy@pa.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2021 the undersigned caused the Plaintiffs’ Notice of
Lodging Proposed Consent Decree to be served by first class United States mail and electronic
mail on the following counsel:

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Counsel for Plaintiff the Commonwealth of Pennsylvania Department of Environmental
Protection


                                                    /s/Laura J. Brown




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